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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 RUBY FREEMAN and WANDREA’ MOSS,



                       Plaintiffs,

        v.                                                         No. 23-cv-3754-BAH

 RUDOLPH W. GIULIANI,

                       Defendant.



     DECLARATION OF M. ANNIE HOUGHTON-LARSEN IN SUPPORT OF
  PLAINTIFFS’ SUBMISSION IN RESPONSE TO THE COURT’S JANUARY 3, 2025
                            MINUTE ORDER


       I, M. Annie Houghton-Larsen, an attorney admitted to practice in this Court, hereby declare

as follows pursuant to 28 U.S.C. § 1746:

       1.      I am over 18 years of age, of sound mind, and otherwise competent to make this

Declaration.

       2.      I am counsel to Plaintiffs Ruby Freeman and Wandrea’ Moss (“Plaintiffs”) in the

above-captioned action.

       3.      I submit this declaration in support of Plaintiffs’ Submission in Response to the

Court’s January 3, 2025 Minute Order.

       4.      Attached hereto as Exhibit 1 is a true and correct copy of Plaintiffs’ Exhibit 592,

Designated Deposition Testimony of Bernard Kerik, which was admitted at trial.

       5.      Attached hereto as Exhibit 2 is a true and correct copy of Plaintiffs’ Exhibit 594,

Designated Deposition Testimony of Jenna Ellis, which was admitted at trial.
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       6.      Attached hereto as Exhibit 3 is a true and correct copy of Plaintiffs’ Exhibit 595,

Designated Deposition Testimony of Christina Bobb, which was admitted at trial.

       7.      Attached hereto as Exhibit 4 is a true and correct copy of an email from Plaintiffs’

counsel to Defendant’s counsel, providing notice of Plaintiffs’ third-party subpoena to Michelle

Branton, dated April 27, 2023, and attached notice.

       8.      Attached hereto as Exhibit 5 is a true and correct copy of an email from Plaintiffs’

counsel to Defendant’s counsel, providing notice of third-party subpoenas to Frances Watson and

Frank Braun, dated April 21, 2023, and attached notices.

       9.      Attached hereto as Exhibit 6 is a true and correct copy of an email from Plaintiffs’

counsel to Defendant’s counsel, providing notice of a third-party subpoena to Bernard Kerik, dated

March 5, 2023, and attached notice.

       10.     Attached hereto as Exhibit 7 is a true and correct copy of an email from Plaintiffs’

counsel to Defendant’s counsel, providing notice of a third-party subpoena to Jenna Ellis, dated

May 16, 2023, and attached notice.

       11.     Attached hereto as Exhibit 8 is a true and correct copy of an email from Plaintiffs’

counsel to Defendant’s counsel, providing notice of a third-party subpoena to Christina Bobb,

dated April 26, 2023, and attached notice.

       12.     Attached hereto as Exhibit 9 a true and correct copy of an email thread between

Plaintiffs’ counsel and Defendant’s counsel, discussing an updated start time for Mr. Kerik’s

deposition, dated March 17, 2023.

       13.     Attached hereto as Exhibit 10 a true and correct copy of an email between

Plaintiffs’ counsel and Defendant’s counsel, confirming Ms. Ellis’s deposition start time and that

Defendant’s counsel did not intend to attend, dated June 26, 2023.

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       I declare under penalty of perjury that the foregoing is true and correct.

Executed on January 8, 2025.                         s/ M. Annie Houghton-Larsen
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                                                     Attorney for Ruby Freeman and
                                                     Wandrea’ Moss




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